
This was an action of assault and battery, in which the time and the damages were left Blank in the declaration; and the pleas were “not guilt}',” and “son assault demesne.” After a general verdict for the plaintiff for 300 dollars damages, the defendant moved in arrest of judgment, assigning the blanks in the declaration as grounds of arrest. The District Court overruled the motion, and gave judgment for the plaintiff; whereupon the defendant appealed to this court. A copy of the writ, (in which the damages were laid at 1,000 dollars) was inserted in the record by the Clerk of the District Court, though no entry was made of oyer of the writ, nor any order of the Court for its insertion.
Botts, for the appellee, moved to take up this as a delay case, to which the Court agreed, and unanimously affirmed the judgment.
